     Case 4:16-cv-00623-RGE-SBJ Document 161 Filed 10/22/18 Page 1 of 1
      UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF IOWA
                        OFFICE OF THE CLERK
                            P. O. BOX 9344
                       DES MOINES, IA. 50306-9344
                             515-284-6248


    Civil Case Notice of Appeal Supplement
    COUNSEL FOR APPELLANT PLEASE COMPLETE AND SUBMIT WITH NOTICE OF APPEAL

Case Name: _____________________________
            Rossley                      vs. _________________________________
                                              Drake University et al

District Court Case # ____:____-
                      4     16 cv - _________
                                     00623

                               ✔
Appeal Fee ($505.oo) Status Pd___   IFP___ Pending ___ Govt. Appeal ___

                                          ✔ Pro Se____
Counsel Appointed ____ CJA ____ Retained ____

Appeal filed by Counsel____
                        ✔ Pro Se____


Any reason why counsel should not be appointed___________________________________

                                         ✔
Pending post Judgment motions: Yes___ No___

Type of Motion(s)_____________________________________________________________

High Public Interest Case Yes_____ No_____
                                       ✔


Simultaneous Opinion Release Requested Yes____ No____
                                                  ✔


Trial Held Yes_____ No_____
                        ✔


Jury Trial Held Yes_____ No_____
                             ✔


Court Reporter Yes ____
                    ✔ No_____       Length of Trial _________________

Reporter’s Name ___________________________
                 Terri Martin - 515-284-6444

Address ___________________________________
         Kelli Mulcahy - 515-284-6219

____________________________________________

Phone ____________________

Transcript Ordered Yes_____
                        ✔ No_____


Appealing: Order prior to final judgment ____ Final Judgment____
                                                             ✔
